                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
v.                                                 §
                                                   §               EP-20-CR-00389-DCG
PATRICK WOOD CRUSIUS,                              §
                                                   §
                 Defendant.                        §

                            ORDER REQUIRING RESPONSE BRIEF

        On November 2, 2023, the United States filed a Motion to Unseal certain documents in

the above-captioned case. 1 In a prior Order, the Court vacated Local Rule CR-47(b)’s 11-day

deadline due to the Court’s designation of this case as “complex.” 2 Notwithstanding that Order,

the Court orders Defendant to respond to the United States’ Motion to Unseal.

        Furthermore, on November 21, 2023, non-party El Paso Matters filed a Motion for Leave

to file a Motion to Intervene and Unseal Judicial Records. 3 So far, neither Defendant nor the

United States has weighed in on either of El Paso Matters’ motions. Before the Court rules on El

Paso Matters’ motions, the Court wants to provide the parties with an opportunity to respond.

The Court thus orders the parties to respond and file any objections to El Paso Matters’ motions. 4

        Accordingly, the Court ORDERS Defendant to RESPOND to the United States’ Motion

to Unseal by March 8, 2024. If Defendant does not respond, the Court will assume it is


        1
            Mot. Unseal, ECF No. 308.
        2
          Order, ECF No. 90 (“IT IS THEREFORE ORDERED that Local Rule CR-47(b) of the Local
Rules of the United States District Court for the Western District of Texas is VACATED in this case
pursuant to the Court’s oral order on February 14, 2020, until further order from the Court.”).
        3
            Mot. Leave, ECF No. 311; Mot. Intervene & Unseal, ECF No. 311-2.
        4
         To be clear, the Court would like the parties to respond to El Paso Matters’ Motion for Leave
and its Motion to Intervene and Unseal Judicial Records. See Mot. Leave; Mot. Intervene & Unseal.
unopposed to the relief sought and the Court will consider granting the United States’ Motion as

unopposed. 5

        The Court further ORDERS Defendant and the United States to RESPOND to El Paso

Matters’ motions (ECF Nos. 311 and 311-2) by March 8, 2024. If the Court does not receive a

response by that date, the Court will assume the parties are unopposed to the motions. 6

        So ORDERED and SIGNED this 23rd day of February 2024.



                                                     ____________________________________
                                                     DAVID C. GUADERRAMA
                                                     SENIOR U.S. DISTRICT JUDGE




        5
           W.D. TEX. L.R. CR-47(b) (providing that a response is required within 11 days of the service of
a motion, “if a party opposes a motion” (emphasis added)); cf. W.D. TEX. L.R. CV-7(d)(2) (providing, in
the civil context, that if no response is filed, “the court may grant the motion as unopposed”).
         6
           Id.
